                                  UNITED STATES BANKRUPTCY COURT
                               _____NORTHERN DISTRICT OF OHIO_______

IN RE:      RICHARD M. OSBORNE                                             }           CASE NUMBER: 17-17361
                                                                           }
                                                                           }
                                                                           }           JUDGE HARRIS
                                                                           }
            DEBTOR.                                                        }           CHAPTER 11




                             DEBTOR'S MONTHLY OPERATING REPORT (INDIVIDUAL)
                                            FOR THE PERIOD
                          FROM                  1-Mar TO   31-Mar-18



   Comes now the above-named debtor and files its Monthly Operating Report in accordance with the Guidelines established
by the United States Trustee and FRBP 2015.



  Dated:                                                                                            /s/ Frederic P. Schwieg, Esq.
                                                                                                    Attorney for Debtor




            Debtor's Address                                                                        Attorney's Address
            and Phone Number:                                                                       and Phone Number:
            7265 Markell Rd.                                                                        2705 Gibson Dr.
            Waite Hill, OH 44094                                                                    Rocky River, OH 44116-3008
            /s/ Richard M Osborne Sr.                                                               ___________________________
                                                                                                    Bar No. 0030418
            Tel.        216-215-1313                                                                Tel.       440-499-4506



Note: The original Monthly Operating Report is to be filed with the court and a copy simultaneously provided to the United States Trustee.
Monthly Operating Reports must be filed by the 20th day of the following month.

For assistance in preparing the Monthly Operating Report, refer to the followng resources on the United States Trustee Program website,
http://www.justice.gov/ust/r20/index.htm
1)           Instructions for Preparation Debtor's Chapter 11 Monthly Operating Report
2)           Initial Filing Requirements
3)           Frequently Asked Questions (FAQs)




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                        SUMMARY OF CASH RECEIPTS AND CASH DISBURSEMENTS

Case Name: RICHARD M. OSBORNE
Case Number: 17-17361

Note: The information requested below is a summary of the information reported the various Schedules and Attachments contained within this report.

                                                                                                    Month                     Cumulative
                                                                                                   Mar-18                        Total


CASH- Beginning of Month (Household)                                                                 $20,344.09                       $29,011.57

CASH- Beginning of Month (Business)                                                                    $9,309.40                      $29,730.61




 Total Household Receipts                                                                            $22,067.02                       $64,713.00


 Total Business Receipts                                                                             $16,939.35                       $61,985.28


    Total Receipts                                                                                   $39,006.37                     $126,671.28




 Total Household Disbursements                                                                       $10,462.90                       $32,764.79


 Total Business Disbursements                                                                        $14,820.48                       $59,489.23


    Total Disbursements                                                                              $25,283.38                       $92,254.02




NET CASH FLOW (Total Receipts minus Total Disbursements)                                             $13,722.99                       $43,906.62




CASH- End of Month (Individual)                                                                      $31,948.21                       $60,959.78


CASH- End of Month (Business)                                                                        $11,428.27                       $41,158.88



          CALCULATION OF DISBURSEMENTS FOR UNITED STATES TRUSTEE QUARTERLY FEES
TOTAL DISBURSEMENTS (From Above)                                                                     $25,283.38                       $92,254.02

   Less: Any Amounts Transferred or Paid from the Business Account to the
Household Account (i.e., Salary Paid to Debtor or Owner's Draw)                                              $0.00                          $0.00


DISBURSEMENTS FOR U.S. TRUSTEE FEE CALCULATION                                                       $25,283.38                       $92,254.02

 I declare under penalty of perjury that this statement and the accompanying documents and reports are true and correct to the best of
                                                         my knowledge and belief

  This ___________ day of _________________________ 20_____.                              _____________________________________
                                                                                          Debtor's Signature




                                                                      Monthly Operating Report - Indivdual




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                                    SCHEDULE OF HOUSEHOLD
                             CASH RECEIPTS AND CASH DISBURSEMENTS

                                                                                      Month          Cumulative
                                                                                      Mar-18           Total
CASH - Beginning of Month                                                              $20,344.09      $29,011.57

CASH RECEIPTS
 Salary or Cash from Business
 Wages from Other Sources (attach list to this report)
 Interest or Dividend Income                                                                $59.88         $64.86
 Alimony or Child Support
 Social Security/Pension/Retirement                                                     $2,563.00      $10,204.00
 Sale of Household Assets (attach list to this report)
 Loans/Borrowing from Outside Sources (attach list to this report)
 Other (specify) (attach list to this report) travel reimbursement                      $1,944.14       $1,944.14
  Receipts from JTO Estate                                                             $17,500.00      $52,500.00
TOTAL RECEIPTS                                                                         $22,067.02      $64,713.00

CASH DISBURSEMENTS
 Alimony or Child Support Payments
 Charitable Contributions
 Gifts
 Household Expenses/Food/Clothing                                                       $1,543.55       $5,247.27
 Household Repairs & Maintenance                                                         $347.76        $3,822.76
 Insurance                                                                               $922.74         $922.74
 IRA Contribution
 Lease/Rent Payments
 Medical/Dental Payments                                                                $2,919.67       $3,036.10
 Mortgage Payment(s)
 Other Secured Payments                                                                    $575.00      $6,850.00
 Taxes - Personal Property
 Taxes - Real Estate
 Taxes Other (attach schedule)
 Travel & Entertainment                                                                 $2,062.53       $3,586.42
 Tuition/Education
 Utilities (Electric, Gas, Water, Cable, Sanitation)                                    $1,172.03       $7,989.03
 Vehicle Expenses                                                                        $734.11        $1,124.96
 Vehicle Secured Payment(s)
 U. S. Trustee Quarterly Fees
 Professional Fees (Legal, Accounting)
 Other (attach schedule)
  Subscriptions                                                                            $185.51        $185.51


Total Household Disbursements                                                          $10,462.90      $32,764.79

CASH - End of Month (Must equal reconciled bank statement-
Attachment No. 2)                                                                      $31,948.21      $60,959.78



                                                         Monthly Operating Report - Individual



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                                  SCHEDULE OF BUSINESS
                          CASH RECEIPTS AND CASH DISBURSEMENTS

                                                                                   Month            Cumulative
                                                                                   Mar-18             Total
CASH - Beginning of Month                                                               $9,309.40    $29,730.61

BUSINESS CASH RECEIPTS
 Cash Sales
 Account Receivable Collection
 Loans/Borrowing from Outside Sources (attach list to this report)
 Rental Income                                                                      $16,437.70       $49,199.11
 Sale of Business Assets (attach list to this report)
 Other (specify) (attach list to this report)                                                             $1.52
Closed Erie Bank accounts                                                              $501.65       $12,794.65
Total Business Receipts                                                             $16,939.35       $61,985.28

BUSINESS CASH DISBURSEMENTS
 Net Payroll (Excluding Self)                                                           $9,761.31    $26,212.72
 Salary Paid to Debtor or Owner's Draw (e.g., transfer to
Household Account)
 Taxes - Payroll
 Taxes - Sales
 Taxes Other (attach schedule)
 Contract Labor (Subcontractors)                                                                       $1,800.00
 Inventory Purchases
 Secured/Lease Payments (Business)                                                      $1,198.46      $3,643.31
 Utilities (Business)                                                                   $1,780.77      $4,927.16
 Insurance                                                                                             $2,158.45
 Vehicle Expenses                                                                                      $2,377.26
 Travel & Entertainment                                                                  $530.14         $530.14
 Repairs and Maintenance                                                                               $9,014.34
 Supplies                                                                                $149.80         $486.64
 Charitable Contributions/Gifts
 Purchase of Fixed Assets
 Advertising
 Bank Charges                                                                                           $226.11
 Other (attach schedule) - refund                                                       $1,400.00     $2,951.67
                                                                                                      $2,744.67
Total Business Disbursements                                                        $14,820.48       $59,489.23

CASH - End of Month (Must equal reconciled bank statement -
Attachment No. 2)                                                                   $11,428.27       $41,158.88


                                                Monthly Operating Report - Individual



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MONTHLY OPERATING REPORT -                                                                                                                   ATTACHMENT NO. 1
INDIVDUAL




                                                              QUESTIONNAIRE
                                                                                                                              YES*               NO
1.      Have any assets been sold or transferred outside the normal course of business during this
        reporting period?                                                                                                                 xxxx
2.      Have any funds been disbursed from any account other than a debtor in possession
        account?                                                                                                                          xxxx
3.      Are any post-petition receivables (accounts, notes, or loans) due from any relatives,
        insiders, or related party?                                                                                                       xxxx
4.      Have any payments been made on pre-petition liabilities this reporting period?
                                                                                                                                          xxxx
5.      Have any post-petition loans been received by the debtor from any party?
                                                                                                                                          xxxxx
6.      Are any post-petition payroll taxes past due?
                                                                                                                                          XXXXX
7.      Are any post-petition state or federal income taxes past due?
                                                                                                                                          xxxxx
8.      Are any post-petition state or local sales taxes past due?
                                                                                                                                          xxxxx
9.      Are any post-petition real estate taxes past due?
                                                                                                                                          xxxxx
10.     Are any amounts owed to post-petition creditors/vendors delinquent?
                                                                                                                                          xxxxxx
11.     Are any wage payments past due?
                                                                                                                                          XXXXX
                *If the answer to any of the above questions is "YES," provide a detailed explanation of each item on a separate sheet.




                                                      INSURANCE INFORMATION
                                                                                                                              YES            NO*
1.      Are real and personal property, vehicle/auto, general liability, fire, theft, worker's
        compensation, and other necessary insurance coverages in effect?                                                    XXXXX
2.      Are all premium payments current?
                                                                                                                          XXXXX
                 *If the answer to any of the above questions is "NO," provide a detailed explanation of each item on a separate sheet.




                                                                       CONFIRMATION OF INSURANCE
                                                                                                                               Payment Amount            Delinquency
                        TYPE of POLICY             and            CARRIER                              Period of Coverage       and Frequency              Amount
        Rental Property Policy - State Farm (there are at least 18 diffenent policies)               Most end 11/18/18          16.917 annual                 0




____ Check here if United States Trustee has been listed a a Certificate Holder on all policies of insurance.


                           DESCRIBE PERTINENT DEVELOPMENTS, EVENTS, AND MATTERS DURING THIS REPORTING PERIOD:




     Estimated Date of Filing the Plan of Reorganization and Disclosure Statement: _____________           18-Aug




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MONTHLY OPERATING REPORT -                                                                               ATTACHMENT NO. 2
INDIVIDUAL

                                         BANK ACCOUNT RECONCILIATIONS


Bank Account Information
                                                                Account               Account          Account        Account
                                                                  #1                    #2               #3             #4

Name of Bank:                                                Erie Bank          Erie Bank          Huntingon
Account Number:                                                  1306934505           1306934977       2665744835

Purpose of Account (Business/Personal)                       Bus/Pers           Tax                Bus./Pers.
Type of Account (e.g. checking)                              Checking           Checking           Checking

1. Balance per Bank Statement                                           $0.00             $0.00       $45,483.35
2. ADD: Deposits not credited (attach list to this report)              $0.00             $0.00          $501.65
3. SUBTRACT: Outstanding Checks (attach list)                           $0.00             $0.00        $2,608.52
4. Other Reconciling Items (attach list to this report)                 $0.00             $0.00
5. Month End Balance (Must Agree with Books)                            $0.00             $0.00       $43,376.48
   TOTAL OF ALL ACCOUNTS                                                                                             $43,376.48

Note: Attach a copy of the bank statement and bank reconciliation for each account.

Investment Account Information
                                                                 Date of           Type of            Purchase        Current
          Bank / Account Name / Number                          Purchase          Instrument           Price           Value




Note: Attach a copy of each investment account statement.




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                                                            Richard M Osborne DIP
                                                           Cash Disbursement Register
                                                                    March 2018
                                                           1002 - Cash - Erie Bank - DIP


Date      Reference      Type         Payee/Paid By        Memo                               Payment Amt
3/2/18    Payroll 3-2-18 Gen. Jrnl.                        Payroll                                2,111.81
3/6/18    ACH030618 Payment           Ohio Payroll         Payroll processing                       149.80

                         Total                                                                    2,261.61




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                                                            Richard M Osborne DIP
                                                             Cash Receipt Register
                                                           Huntington Bank - Business
                                                                 For March 2018


Date      Reference     Type      Payee/Paid By            Memo           Description   Receipt Amt
3/2/18    1252          Receipt   catherine Groves         3/5/18         Rent               600.00
3/2/18    4331          Receipt   Richard Balog            3/5/18         Rent               500.00
3/2/18    cash3/2/18    Receipt   robert Fratus            3/5/18         Rent               800.00
3/2/18    cash3/2/18    Receipt   Wallenfelz 7474 pres     3/5/18         Rent             1,000.00
3/5/18    1127          Receipt   the learning tree        3/5/18         Rent             1,217.83
3/5/18    1134          Receipt   Carst                    3/5/18         Rent               600.00
3/5/18    24811194655   Receipt   boone                    3/5/18         Rent               600.00
3/5/18    3361          Receipt   Myers, Debbie            3/5/18         Rent               900.00
3/5/18    5263          Receipt   Beckwith                 3/5/18         Rent             1,000.00
3/5/18    Cash3518      Receipt   Rasile Michael           3/5/18         Rent               600.00
3/5/18    cash3518      Receipt   Clint Rose               3/5/18         Rent               800.00
3/8/18    551653460     Receipt   Smith                    3/8/18         Rent               265.15
3/12/18   1570          Receipt   Becker                   3/12/18        Rent               232.22
3/12/18   2621          Receipt   zukowski 5660vrooman     3/12/18        Rent               750.00
3/13/18   1207          Receipt   Kiss 15499 Kinsman       3/13/18        Rent             1,400.00
3/13/18   1237          Receipt   Lakrii                   3/13/18        Rent             1,000.00
3/14/18   114           Receipt   jusko                    3/14/18        Rent             1,050.00
3/14/18   cash31418     Receipt   Johnson 7741 auburn      3/14/18        Rent             1,200.00
3/22/18   1135          Receipt   Carst                    3/22/18        Rent               600.00
3/23/18   2002157787    Receipt   Airgas                   3/23/18        Rent             1,322.50

                        Total                                                             16,437.70




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                                                            Richard M Osborne DIP
                                                           Cash Disbursement Register
                                                           Huntington Bank - Business
                                                                 For March 2018


Date      Reference      Type         Payee/Paid By        Memo                         Payment Amt
3/2/18    Payroll 3-2-18 Gen. Jrnl.                                                         1,147.06
3/7/18    1531           Payment      Bank Of America                                       1,198.46
3/8/18    1546           Payment      dominion                                                741.23
3/8/18    1547           Payment      lake county dept     Utilities                           77.49
3/8/18    1550           Payment      orwell Natural       Utilities                          195.45
3/8/18    1551           Payment      orwell Natural       Utilities                          154.23
3/8/18    1552           Payment      sievers              Utilities                           31.83
3/12/18   1556           Payment      city of pain         Utilities                           23.52
3/12/18   1560           Payment      Knox Energy          Utilities                           11.06
3/12/18   1561           Payment      orwell Natural       Utilities                          122.02
3/12/18   1563           Payment      sievers              Utilities                           31.03
3/16/18   Payroll 3-16-18Gen. Jrnl.                        Payroll                          3,161.49
3/19/18   1568           Payment      Illuminating         Utilities                           95.05
3/19/18   1569           Payment      Illuminating         Utilities                           37.12
3/19/18   1570           Payment      orwell Natural       Utilities                            5.83
3/22/18   1533           Payment      Aimee Urban          refund                           1,400.00
3/23/18   1574           Payment      Aqua                 Utilities                           60.39
3/23/18   1577           Payment      lake county dept     Utilities                           51.87
3/28/18   1580           Payment      city of pain         Utilities                          142.65
3/30/18   Payroll 3-30-18Gen. Jrnl.                        Payroll                          3,340.95

                         Total                                                             12,028.73




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                                                          Richard M Osborne DIP
                                                          Cash Receipts Register
                                                        Huntington Bank - Household
                                                              For March 2018


Date      Reference     Type         Payee/Paid By       Memo           Description       Receipt Amt
3/2/18    3733          Receipt      Estate JTO          3/5/18         From JTO Estate      5,000.00
3/5/18    1904168       Receipt      computershare       3/5/18         dividend                  0.33
3/5/18    3518          Receipt      woodside            3/5/18         From JTO Estate     12,500.00
3/8/18    0045526353    Receipt      computershare       3/8/18         dividend                  1.02
3/8/18    0072382       Receipt      timken              3/8/18         dividend                  0.27
3/9/18    0040118300    Receipt      computershare       3/9/18         dividend                  0.75
3/22/18   6761499       Receipt      Voya                3/22/18        dividend                27.56
3/22/18   6761515       Receipt      Voya                3/22/18        dividend                24.20
3/23/18   1934951       Receipt      computershare       3/23/18        dividend                  0.05
3/27/18   3549          Receipt      Cobra               3/27/18        reimbursement        1,944.14
3/28/18   11757         Receipt      SSA                 3/28/18        social security      2,563.00
3/31/18   03/31/18      Gen. Jrnl.                                      interest earned           5.70

                        Total                                                               22,067.02




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                                                            Richard M Osborne DIP
                                                          Cash Disbursement Register
                                                          Huntington Bank - Household
                                                                For March 2018


Date      Reference     Type      Payee/Paid By            Memo                             Payment Amt
3/7/18    pos30718      Payment   Carnegie auto wash       auto expense                            28.62
3/8/18    1543          Payment   big Oats                 auto expense                            57.73
3/8/18    1544          Payment   cobra                                                           349.84
3/8/18    1545          Payment   Illuminating             utilities                               61.85
3/8/18    pos30818-1    Payment   MCDonalds                food                                    17.66
3/8/18    pos30818-2    Payment   Giant Eagle              food                                     8.48
3/9/18    pos30918-1    Payment   Walmart                  supplies                               293.19
3/9/18    pos30918-2    Payment   Heinen's                 food                                    86.09
3/9/18    pos30918-3    Payment   Kwik Fill                auto expense                            74.33
3/12/18   1554          Payment   Hathy                    interest                               575.00
3/12/18   1555          Payment   big Oats                 auto expense                            78.25
3/12/18   1557          Payment   city of pain             utilities                               43.92
3/12/18   1558          Payment   Directv                  utilities                              368.11
3/12/18   1559          Payment   Knox Energy              utilities                              204.37
3/12/18   1562          Payment   sievers                  utilities                              126.50
3/12/18   1564          Payment   osborne Lance                                                   270.00
3/12/18   pos31218      Payment   fastsigns                supplies                               259.10
3/15/18   pos31518      Payment   Walmart                  supplies                               411.93
3/16/18   pos31618-1    Payment   Kwik Fill                auto expense                            60.98
3/16/18   pos31618-2    Payment   american air             travel                               1,413.00
3/16/18   pos31618-3    Payment   agent fee                travel                                  31.00
3/19/18   1565          Payment   Aqua                     utilities                              132.42
3/19/18   1566          Payment   AT&T                     utilities                              183.75
3/19/18   1567          Payment   big Oats                 auto expense                            42.62
3/19/18   1571          Payment   Barron's                 subscription                            52.00
3/19/18   pos31918-1    Payment   HNDiscover               subscription                            18.69
3/19/18   pos31918-2    Payment   Sierra airport           travel                                   4.32
3/19/18   pos31918-3    Payment   SQ OKC orange cab        travel                                  70.00
3/19/18   pos31918-4    Payment   Renaissance waterfor     travel                                 189.81
3/19/18   pos31918-5    Payment   SQ Thunder cab           travel                                  60.00
3/19/18   pos31918-6    Payment   american air             travel                                  25.00
3/20/18   1572          Payment   westfield Insurance      3409227244                             922.74
3/20/18   pos32018-1    Payment   Oklahoma city airpor     travel                                  19.22
3/20/18   pos32018-2    Payment   american air tulsa       travel                                  59.00
3/20/18   pos32018-3    Payment   cleveland cleveland      travel                                  60.00
3/21/18   1573          Payment   united health            health insurance                       551.15
3/22/18   pos32218-1    Payment   aarp                     health insurance                     2,368.52
3/22/18   pos32218-2    Payment   hard rock                entertainment                          100.00


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                                                            Richard M Osborne DIP
                                                          Cash Disbursement Register
                                                          Huntington Bank - Household
                                                                For March 2018


Date      Reference     Type      Payee/Paid By            Memo                          Payment Amt
3/22/18   pos32218-3    Payment   7-eleven                 food                                68.46
3/22/18   pos32218-4    Payment   Brueggers                food                                  9.55
3/22/18   pos32218-5    Payment   Discount Drug            supplies                            12.00
3/22/18   pos32218-6    Payment   Great Lakes Pharmacy     supplies                            50.00
3/23/18   1534          Payment   The News-Herald          subscription                       114.82
3/23/18   1575          Payment   AT&T                     utilities                           51.11
3/23/18   1576          Payment   big Oats                 auto expense                        41.74
3/29/18   POS032918-1   Payment   Giant Eagle              food                                61.82
3/29/18   POS032918-2   Payment   Tractor Supply           Parts                               77.76
3/29/18   POS032918-3   Payment   Walmart                  supplies                           226.52
3/29/18   POS032918-4   Payment   Giant Eagle              food                                38.75
3/29/18   POS032918-5   Payment   Sahli & Sahli            entertainment                       31.18

                        Total                                                               10,462.90




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